           Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CONSUMER FINANCIAL
 PROTECTION BUREAU,

      Petitioner,                                Case No. 1:17-cv-02238-ABJ

 v.

 NEXUS SERVICES, INC., et al.,

      Respondents.



            MOTION TO ENFORCE THE COURT’S DECEMBER 11
        ORDER AND THE TERMS OF THE BUREAU’S MODIFIED CID
      AND SUPPORTING MEMORANDUM OF POINTS AND AUTHORITIES

         The Consumer Financial Protection Bureau (Bureau) files this motion and

supporting memorandum seeking an order directing Nexus Services, Inc., and Libre by

Nexus, Inc. (together, Nexus) to comply with this Court’s December 11, 2018 order

(Order) and the civil investigative demand issued by the Bureau and modified by

agreement of the parties (Modified CID).

         After mediation to resolve actions before this Court, Nexus agreed to comply with

the Modified CID, and on December 11, 2018, the Court granted the Bureau’s petition to

enforce its CID and directed Nexus to comply with the Modified CID. Now, Nexus

refuses to produce audio recordings of phone calls as required by Document Request 7

of the Modified CID. There is no indication that Nexus will comply with the Order

absent further judicial intervention.




                                             1
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 2 of 8



                                    BACKGROUND

    A. Litigation Resulting in the Court’s Order

       The Bureau issued a CID to Nexus on August 21, 2017. Rather than complying

with the CID, Nexus brought suit against the Bureau in October of 2017, arguing, among

other things, that the CID’s requests were burdensome. 1 The Bureau then petitioned to

enforce the CID. 2 The parties agreed, at the Court’s suggestion, to engage in mediation

to resolve the scope of the CID, 3 and the Court referred the cases to mediation on

August 7, 2018. 4

       The parties reached a settlement memorialized in a Stipulation, 5 which the Court

adopted in its Order entered on December 11, 2018. 6 The Order granted the Bureau’s

petition to enforce the CID as modified during the mediation and directed Nexus to

comply with the Modified CID. 7

    B. Document Requests 7(b) through 7(e) of the Modified CID

       This motion concerns Document Requests 7(b) through 7(e) of the Modified CID,

which required the production of a volume of documents substantially reduced from

what the original CID required. Document Request 7 of the original CID sought:

          All documents memorializing communications with clients or potential
          clients who were offered products or services related to an immigration
          bond, including, without limitation, written logs, databases, sound




1 See Compl. ¶¶ 39–40, 81–93, Nexus Servs., Inc. v. CFPB, No. 17-cv-2215-ABJ (D.D.C.
Oct. 25, 2017).
2 Pet. to Enf. Civil Investigative Demand, ECF No. 1.
3 ECF No. 21; see Hearing Tr. (Jul. 18, 2018) 23:17–24.
4 ECF No. 22.
5 ECF No. 28.
6 ECF No. 29.
7 Id. ¶¶ 1, 2.



                                            2
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 3 of 8



          recordings of phone calls, text messages, emails, and instant and social
          media messages. 8

The applicable period for responsive materials was “January 1, 2014 until the date of full

and complete compliance with this CID.” 9 As of early 2018, Nexus claimed it had

“almost 20,000” current or former clients 10 whose “immigration cases can stretch over

years.” 11 Nexus has indicated that it maintains “24/7 nationwide logistics call and

support centers” for its clients. 12 Assuming each client had one or more phone calls to or

from Nexus’s call center, phone calls responsive to the original CID likely numbered in

the tens or hundreds of thousands.

       As modified, Document Request 7 substantially reduced the scope and amount of

documents requested, seeking:

              The following documents, after redacting all consumer
              names and alien numbers:

          a. All e-mails relating to QA Reports, including QA Reports and
             any other attachments that are not Capsule files and that are
             not sound recordings;
          b. All sound recordings of phone calls referenced in 1 QA
             Report per month, for a minimum of 500 calls;
          c. All sound recordings referenced in QA Reports and
             requested by the Bureau, up to a maximum of 250 calls;
          d. A random sample of sound recordings of 300 phone calls
             over 4 minutes from 2014; and
          e. A random sample of sound recordings of 300 phone calls
             over 4 minutes from 2015. 13


8 ECF No. 1-5, at 7 (emphasis added).
9 Id., Instruction C.
10 ECF No. 5, at 2 n.1.
11 Id. at 9.
12 ECF No. 13-2, ¶ 17(b) (Case No. 17-2215).
13 Ex. A-1 (Modified CID requests, Dec. 4, 2018), at 4. See Decl. of Hai Binh T. Nguyen in

Supp. of Mot. to Enforce the Court’s December 11 Order and the Terms of the Bureau’s
Modified CID, filed herewith, Apr. 12, 2019 (Nguyen Decl.), ¶ 4. All exhibits cited herein
are attached to the Nguyen Decl.


                                             3
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 4 of 8



Instead of requesting all communications with clients, including text messages, instant

messages, and social-media messages, the modified request required the production of

only one narrow category of internal emails and roughly 1,350 phone-call recordings

with minimal redactions. Nexus recently informed the Bureau that of the 1,350 call

recordings sought by the Modified CID, about 600 had been destroyed, reducing the

burden of compliance with this portion of the request by nearly half. 14

     C. Nexus’s Non-Compliance

       Under the Modified CID, the call recordings were to be produced in tranches,

beginning on March 1, 2019. 15 The first production of phone calls, responsive to

Document Request 7(b), was due on March 1, 2019. As of the date of this filing, Nexus

has produced no call recordings to the Bureau. 16

       Nexus has represented to the Bureau that redaction of the call recordings poses

an undue burden, and in a good-faith attempt to resolve the matter, the Bureau offered

to accept the calls unredacted 17 or, alternatively, to accept redacted calls after the due

date. 18 Nexus has not agreed to either offer. 19




14 Document Requests 7(d) and 7(e) required the production of 300 phone calls from
2014 and 300 phone calls from 2015, respectively. Three months after Nexus stipulated
to comply with these requests, Nexus confessed that it could not do so. See Ex. E (Letter,
Brundage to Nguyen, Mar. 15, 2019). Nexus informed the Bureau for the first time that
its vendor had destroyed phone calls responsive to those requests under the vendor’s
retention policy. Id.; Ex. F (Letter, Nguyen to Brundage, Mar. 22, 2019).
15 Ex. A (Letter, Ehrlich to Peters, Dec. 4, 2018), at 2.
16 Nguyen Decl. ¶ 13.
17 Ex. D (Letter, Nguyen to Troy, Mar. 14, 2019).
18 Nguyen Decl. ¶ 12.
19 Id.; Ex. C (Letter, Troy to Nguyen, Mar. 21, 2019).



                                               4
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 5 of 8



     D. Statement under Local Civil Rule 7(m)

       On March 22, 2019, Bureau counsel met and conferred telephonically with

counsel for Nexus under Local Civil Rule 7(m). 20 Nexus opposes the motion.

                                      ARGUMENT

       During a year of litigation concluding with four months of mediation, Nexus

freely bargained for the reduced scope of the Modified CID while represented by

multiple, sophisticated counsel. Nexus agreed to terms it negotiated, and this Court

issued an Order directing Nexus “to comply with the Modified CID.” 21 Nexus now

refuses to comply with material portions of the Order, citing purportedly greater than

anticipated time and expense that it says it discovered only “upon further review,” 22 i.e.,

long after it had agreed to the Modified CID and the Order had been entered. Nexus

requests further negotiation and additional modification of the CID. But the time for

bargaining and compromise is past.

       Nexus is flouting the Court’s Order. The Order was entered and took effect on

December 11, 2018. 23 The Order required Nexus to comply with the Modified CID, 24

which, among other things, required Nexus to produce about 1,350 phone-call

recordings responsive to Document Requests 7(b) through 7(e), with consumer names

and alien numbers redacted, on a series of dates beginning on March 1, 2019. 25 Nexus

did not produce any calls on March 1 as required by the Order or at any other time. 26



20 Nguyen Decl. ¶ 12.
21 ECF No. 29, ¶ 2.
22 See Ex. B (Letter, Troy to Nguyen, Feb. 19, 2019), at 3.
23 ECF No. 29.
24 Id. ¶ 2.
25 Ex. A-1 at 4; Ex. A at 2.
26 Nguyen Decl. ¶ 13.


                                             5
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 6 of 8



       To excuse its refusal to obey the Court’s Order with respect to phone-call

recordings, Nexus has stated that it agreed to the Modified CID because it “initially

believed that this was something that was feasible,” but that “upon further review” it

discovered the “burden, expense and time” of compliance, and that it “regrets it did not

broach this issue previously but the reality of the cost requirements only recently

became apparent throughout the document review and production process.” 27 That

Nexus claim it only recently became aware of the burden of producing call recordings is

undermined by its own October 2017 suit against the Bureau. There, Nexus alleged that,

as early as August 30, 2017, it provided “in detail, the reasons that compliance with

certain requests in the Nexus CID [including Document Request 7] would be

extraordinarily burdensome, prohibitively expensive, and significantly time-consuming

for the [sic] Nexus.” 28 Even if Nexus did not know about the cost of redacting phone

calls in August 2017, Nexus could have raised those issues in the mediation over the

scope of the CID that extended into December 2018. 29 In any event, the claim is

irrelevant to the Court’s determination of whether Nexus violated the Court’s Order.

       Nexus’s objections come too late. Nexus was free to pursue whatever remedies

and revisions to the CID it saw fit during thirteen months of litigation and four months

of mediation—and even before. 30


27 Ex. B at 3.
28 Compl. ¶¶ 39–40 (Case No. 17-2215).
29 See, e.g., Hearing Tr. (Jul. 18, 2018) 23:17–24 (asking whether the parties would

consider mediation to “get into the nitty-gritty” of the CID), 33:9–22 (listing examples
of CID requests that the parties would discuss in mediation, including “[a]ll documents
memorializing communications with clients or potential clients”).
30 See Decl. of Hai Binh T. Nguyen in Supp. of Pet. to Enf. Civ. Invest. Demand, ECF No.

1-3, ¶¶ 6–7 (noting that on its first phone call with Nexus on August 30, 2017, Bureau
staff urged Nexus to memorialize its concerns about purported undue burden for


                                            6
         Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 7 of 8



       “When a party participates in drafting [an] order,” as Nexus did here, “it does (or

is held to have done) so with an understanding of what it can reasonably accomplish.” 31

Moreover, “when a party makes a deliberate, strategic choice to settle,” as Nexus also

did, “she cannot be relieved of such a choice merely because her assessment of the

consequences was incorrect.” 32

       Permitting Nexus to proceed on its present course would in effect allow it to

reopen the two cases settled by the Court’s December 2018 Order based on information

that Nexus reasonably ought to have obtained during litigation and mediation. This is

unacceptable, for it would simply “reward [a] lack of diligence.” 33 Further delay would

also prejudice the Bureau, which bargained for the fixed production schedule embodied

in the Modified CID after enduring a year-long hiatus to its investigation as a result of

Nexus’s lawsuit and its failure to comply with the Bureau’s lawful CID.

       In an effort to avoid further litigation, the Bureau offered to accept unredacted

phone calls from Nexus, since this would appear to address in toto Nexus’s concerns

about cost. 34 The Bureau also offered to accept the response to Document Request 7(b)

on April 5, more than a month after its original due date, if Nexus would agree by March




Bureau supervisors, who are empowered to grant CID modifications, but that Nexus
never did so).
31 Cobell v. Babbitt, 37 F. Supp. 2d 6, 10 (D.D.C. 1999) (citations and quotations

omitted).
32 McCormick v. City of Chicago, 230 F.3d 319, 327 (7th Cir. 2000) (quoting United

States v. Bank of New York, 14 F.3d 756, 759 (2d Cir.1994)).
33 Allen v. District of Columbia, No. CV 00-591, 2018 WL 4901074, at *3 (D.D.C. Oct. 9,

2018).
34 Ex. D at 2.



                                             7
            Case 1:17-cv-02238-ABJ Document 34 Filed 04/12/19 Page 8 of 8



25 and reaffirm its obligations under Document Request 7(c). 35 Nexus accepted neither

offer.36

         Nexus has refused to comply with the Modified CID and this Court’s Order

without good cause, and it should be directed to immediately produce the responsive

documents.

                                        CONCLUSION

           For all of the foregoing reasons, the Bureau respectfully requests that the Court

issue an order directing Nexus to immediately produce redacted audio recordings as

requested by Document Request 7 of the Modified CID or, alternatively, to produce

those audio recordings unredacted.


April 12, 2019                                  Respectfully submitted,


                                                Kristen A. Donoghue (D.C. Bar No. 456707)
                                                       Enforcement Director
                                                Jeffrey Paul Ehrlich (D.C. Bar No. 439088)
                                                       Deputy Enforcement Director
                                                Kara K. Miller
                                                       Assistant Litigation Deputy

                                                /s/ Hai Binh T. Nguyen
                                                Hai Binh T. Nguyen (CA Bar No. 313503)
                                                Donald R. Gordon (D.C. Bar No. 482384)
                                                Consumer Financial Protection Bureau
                                                1700 G Street, NW
                                                Washington, D.C. 20552
                                                (202) 435-7251 (Nguyen)
                                                haibinh.nguyen@cfpb.gov
                                                (212) 328-7011 (Gordon)
                                                donald.gordon@cfpb.gov

                                                Counsel for Consumer Financial Protection
                                                Bureau

35   Nguyen Decl. ¶ 12.
36   Id.; Ex. C.
                                                8
